 

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NORTH CAROLINA

WESTERN DIVISION
JEFF S. BERRY, )
Plaintiff_, )
)
v. ) JUDGMENT
)
) No. 5:17-CV-635-FL
SOUTHERN STATES COOPERATIVE, )
INC., a Virginia Colporation, )
SAMMY FIELDS, and HANK GRADY, )
Defendants. )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge_, for
consideration of the defendants’ motion to dismiss.

IT IS ORDERED, ADJUDGED AND DECREED in accordance With the coult’s order entered
September 13, 2018, and for the reasons set forth more specifically therein, that defendants’ motion
to dismiss is GRANTED. Plaintiff”s Title VH claims against defendants are dismissed without
prejudice Plaintiff` s remaining state law claims are remanded to Wayne County Superior Couit for
further proceedings

This Judgment Filed and Entered on September 13, 2018a and Copies To:
Glenn A. Barfield (via CM/ECF Notice of Electronic Filing)

Sara Salehi Ash (via CM/ECF Notice of Electronic Filing)
Wayne County Clerk of Superior Couit (via U.S. Mail)

September 13, 2018 PETER A. MOORE, JR., CLERK
/s/ Susan W. Tripp
(By) Susan W. Tiipp, Deputy Clerk

 

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